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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



DISTRICT OF COLUMBIA, et al.,

                     Plaintiffs,
                                                           Case No. 1:22-cv-3357 (CJN)
               v.
                                                           Hon. Carl J. Nichols
THE KROGER CO., et al.,

                     Defendants.



                     JOINT STATUS REPORT REGARDING PLAINTIFFS’
                    MOTION FOR A TEMPORARY RESTRAINING ORDER

       Pursuant to this Court’s November 3, 2022 Minute Order, Plaintiffs the District of

Columbia, the State of California, and the State of Illinois (“Plaintiffs”), and Kroger Co. and

Albertsons Companies, Inc. (“Defendants”) submit this joint status report regarding Plaintiffs’

Emergency Motion for Temporary Restraining Order.

       I.       Proposed Briefing Schedule and Necessity of a Hearing

                A. Plaintiffs’ Statement and Proposed Schedule

       A Washington State court has issued a TRO blocking payment of the Special Dividend

until at least November 10, finding that Washington was substantially likely to prevail on the

merits of its claim that the agreement between Albertsons and Kroger to pay the Special

Dividend was an unreasonable restraint of trade. A Preliminary Injunction hearing is scheduled

in Washington State court on November 10. Thus, a decision by this Court on Plaintiffs’ Motion

for TRO by November 7 is no longer necessary. Plaintiffs have met and conferred with the

Defendants, and Defendants have agreed that they will provide an Opposition to Plaintiffs’

Motion by end of day today Eastern, November 4, 2022. Given that, Plaintiffs can and will reply


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to Defendants’ Opposition by end of day Eastern on Tuesday, November 8, 2022 (see chart

below).

       Plaintiffs do not believe that a hearing on their TRO motion is necessary—the Court will

have briefing and declarations before it sufficient to resolve the Motion and Plaintiffs are willing

to rest and have the Motion decided on the papers. Plaintiffs will move for a preliminary

injunction after the Court’s ruling on the TRO, and a hearing in conjunction with that motion

will be more useful for the Court. If the Court wishes to hold a hearing, Plaintiffs propose that it

occur on November 10. Holding a hearing any earlier is unnecessary given that the Washington

State court has enjoined payment of the Special Dividend at least until then.

     Event                                            Deadline

     Defendants to serve any opposition brief         November 4, 2022 11:59 pm
     and supporting declarations.
     Plaintiffs to serve any reply brief and          November 8, 2022 11:59 pm
     supporting declarations.


       Plaintiffs respectfully request that the Court issue an interim order prohibiting Albertsons

from paying the Special Dividend unless and until the Court has ruled on the Plaintiffs’ Motion

for TRO.

               B. Defendants’ Statement and Proposed Schedule

       As Plaintiffs note, a Washington State court issued a TRO blocking payment of the

Special Dividend until November 10, when a preliminary injunction hearing will occur. As

explained further below, Albertsons will suffer significant harm as a result of any TRO or

preliminary injunction blocking payment of the Special Dividend – harm that will only increase

with each passing day payment of the Special Dividend is restrained. As a result, Albertsons

requires immediate resolution of this dispute and Plaintiffs – as the parties seeking the




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extraordinary relief of a TRO and preliminary injunction – should not be allowed to delay that

process to Albertsons’ detriment. Defendants will file an opposition to Plaintiffs’ motion for

preliminary relief by end of day today, Eastern, November 4, 2022. Defendants request that the

Court require Plaintiffs to file any reply by Monday, November 7 at 2:00 PM Eastern, and that

the Court hold a hearing on whether a temporary restraining order should issue on Tuesday,

November 8 or as soon as possible thereafter (see chart below) with a decision to be issued in

advance of the November 10 preliminary injunction hearing in Washington State court or as soon

thereafter as possible to ensure that all legal challenges to payment of the Special Dividend are

resolved by that date.

     Event                                            Deadline

     Defendants to serve any opposition brief         November 4, 2022 11:59 pm
     and supporting declarations.
     Plaintiffs to serve any reply brief and          November 7, 2022 2:00 pm
     supporting declarations.
     Court holds TRO hearing                          November 8



Defendants object to Plaintiffs’ request that the Court issue an “interim order.” Plaintiffs cannot

effectively secure a TRO – which is extraordinary relief that they carry a heavy burden to justify

– by simply requesting an “interim order” that grants such relief without requiring Plaintiffs to

carry their burden. Moreover, as Plaintiffs note, a Washington State court has temporarily

restrained payment of the Special Dividend until November 10. So long as this Court resolves

Plaintiffs’ motion for preliminary relief prior to that date, there is no need for a TRO or “interim

order” providing the same relief as a TRO by this Court.




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         II.    Statement on Anticipated Factual Disputes Between Affiants and Other

                Issues the Parties Believe Would Assist the Court.

                A. Plaintiffs’ Statement

         Plaintiffs’ motion and its urgency reflect the fact that as soon as November 10, absent

further action by the Washington State court or this Court, Defendants’ Merger Agreement will

change the competitive landscape irreversibly for the worse. In short, it will require Albertsons to

pay $4 billion in a “Special Dividend” to its stockholders, an amount roughly equivalent to all

the cash it has on hand, $1.5 billion of which Albertsons is borrowing from a revolving loan

facility. It will do so at the same time that the Merger Agreement effectively prevents Albertsons

from taking on new debt or issuing other securities that would mitigate the blow to its balance

sheet.

         The Merger Agreement Albertsons negotiated with Kroger thus constrains Albertsons,

and does so at a time of economic downturn, when companies like Albertsons need to have

liquidity (i.e., cash on hand), because they will have difficulty accessing capital, due to its non-

investment-grade bond ratings, as detailed further in the Declaration of Professor Michael Steven

Weisbach submitted with the Motion. Together, the Special Dividend, other Merger Agreement

restrictions, and low bond ratings in an economic downturn create the perfect storm that will

dramatically compromise Albertsons’ ability to compete on pricing, service, quality, wages, and

related investments during the merger review and even beyond, should the transaction not go

through.

         If Albertsons pays the Special Dividend, the injury to Albertsons’ competitiveness, and

the consumers and workers who depend on it, and regulators’ interest in an untainted merger

review will begin immediately. Once market dynamics change because of the large payout, it




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will be impossible to reconstruct them as they were before. As Professor Weisbach’s declaration

makes clear, Defendants’ confidence in Albertsons’ post–Special Dividend financial health is

unjustified: It has $6 billion in annual liquidity needs, will be paying $2.5 billion in cash and

taking on $1.5 billion in new obligations to pay for the Special Dividend, will be driven down to

about $500 million in cash on hand, will be constrained by Kroger from taking on essentially any

new financing, and even if it weren’t, should reasonably expect to be all but shut out of capital

markets. Without money, Albertsons cannot compete.

          In contrast, Defendants suffer no prejudice from waiting—they have publicly stated that

they expect the transaction to close in early 2024. Defendants made that prediction in part, no

doubt, because they knew this horizontal merger between fierce competitors would draw

significant regulatory antitrust scrutiny—that is why the Merger Agreement also provides for

divestiture of hundreds of stores. All Plaintiffs are requesting is that Defendants not be allowed

to alter the status quo while regulators complete the necessary deliberate review of the deal’s

merits.

          Albertsons’ contention that its hands are tied should carry little weight, as the situation is

one of Defendants’ own making. Granting Plaintiffs’ Motion, moreover, would at once reduce

the publicity focused on the dividend, allow regulators and Defendants alike to return their focus

to more traditional aspects of merger review, and permit Albertsons not to pay the Special

Dividend without worrying that it would open itself up to shareholder lawsuits.

          With respect to factual disputes, the parties’ respective briefs and accompanying sworn

statements will sufficiently apprise the Court of any factual disputes it may need to resolve in

adjudicating Plaintiffs’ motion.




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               B. Defendants’ Statement

       Plaintiffs’ motion for preliminary relief is an unprecedented and ill-conceived intrusion

into the internal affairs of a public company based on an entirely speculative theory of purported

competitive harm that is belied by the Merger Agreement between Albertsons and Kroger. The

preliminary relief sought by Plaintiffs is truly extraordinary in nature, will significantly harm

Albertsons and its shareholders if granted, and requires this Court’s resolution as soon as

possible. Indeed, the concerted actions of various State regulators to stop payment of the Special

Dividend – including securing a temporary restraining order blocking payment of the Special

Dividend from a King County Commissioner in the State of Washington until a preliminary

injunction hearing can occur on November 10 – are already causing significant harm to

Albertsons and its shareholders.

       Plaintiffs do not challenge the Special Dividend on its merits, nor could they, given they

are not shareholders or creditors of Albertsons, and the undisputed factual record will show the

Special Dividend is easily compliant with Delaware corporate law governing the payment of

dividends, was properly (and unanimously) authorized by Albertsons’ Board of Directors as part

of a long-standing capital return strategy, followed a thorough review of the Company’s financial

status and anticipated future capital and liquidity needs, and will in no way undermine the

Company’s ability to meet its obligations to counterparties, employees, and customers or its

ability to compete in the ferociously competitive grocery market. Instead, Plaintiffs allege there

is an illegal agreement between Kroger and Albertsons to competitively weaken Albertsons

during the period in which their proposed merger is under antitrust review. They cite no

evidence in support of this purported agreement because there is none. As the record will show,

declaration and payment of the Special Dividend was an independent act by Albertsons alone,




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and the only agreement between Kroger and Albertsons – the Merger Agreement – contemplates

that the Special Dividend might be paid, but does not require it and is not contingent on it. Nor

does the alleged “agreement” make any sense. Albertsons cannot be certain the Merger will be

approved by antitrust regulators and would not sabotage its ability to operate independently as a

result. Nor would Kroger willingly pay nearly $25 billion to acquire Albertsons if it were unable

to effectively compete in the markets it serves.

       The Special Dividend Plaintiffs seek to enjoin is due for payment to Albertsons’

shareholders on Monday, November 7. Under Delaware law, the Special Dividend is owed to

Albertsons’ shareholders and due for payment on that date. An injunction restraining payment

does nothing to remove the liability from Albertsons’ balance sheet or “improve” its financial

condition; to the contrary, it subjects Albertsons to significant legal exposure to shareholders

who are owed the Special Dividend or who traded in Albertsons’ stock in reliance upon the

Special Dividend being paid. That exposure increases every day payment of the Special

Dividend is enjoined. Moreover, millions of shares of Albertsons’ stock have been traded since

the Special Dividend was announced in reliance upon the Special Dividend being paid. An

injunction will harm some of those shareholders, and potentially enrich others, and create a

judicially-constructed caste of winners and losers, and thus undermine the functioning of

securities markets. In short, enjoining payment of the Special Dividend imposes significant

harm on Albertsons and its shareholders that will grow by the day. Both the equities and the

public interest demand that all actions to enjoin payment of the dividend be resolved as soon as

possible.

       Defendants expect that the Court will need to resolve disputes raised by the parties’

submissions, including disputes between Plaintiffs’ expert submission and Defendants’ rebuttal




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witnesses (including a defense expert and sworn testimony from Albertsons’ CFO) as to the

financial condition of Albertsons and its ability to compete following payment of the Special

Dividend.




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Dated: November 4, 2022             Respectfully submitted,


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